            So Ordered.

Dated: May 2nd, 2025




                     UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF WASHINGTON


   In re:                                       Case No. 24-01519-FPC11
                                                (Jointly Administered)
   1 MIN, LLC; HOTEL AT
   SOUTHPORT, LLC; and TWELFTH
   FLOOR, LLC,

                      Debtors.
   LAN CAI, SHUJIE CHEN, TIANRAN                Adv. No. 25-80007-FPC
   CHEN, WEIJUN CHEN, JIE CHU,
   ZHAOJUN CONG, HE CUI,                        ORDER VACATING DISMISSAL
   JIANYING DING, JICHUN DU,                    ORDER AND DENYING MOTION
   QING DU, JIEYING FENG, YUPENG                TO DISMISS
   GAO, YIRAN HAN, JINYANG HU,
   NAIXIN HU, XIAO HUANG,
   JUNMEI JIN, XIN MENG,
   WEIHONG LU, YUANYUAN MA,
   MIN PAN, LEI PEI, HAO QI, XIAO
   RONG, JUAN SHAO, HUI WANG,
   JINGYI WANG, YUQUAN WANG,
   ZIDONG WANG, RONGRONG WU,
   ZHAOHUI XU, QI XU, JIE YAN, KE
   YANG, QIN YANG, HONGYUN YU,
   SHUXIAN ZENG, XIAOHONG
   ZHANG, YING ZHAO, MINBO
   ZHOU, NAN ZHOU, HUIQING ZHU,
   ZILING ZENG, LUYI ZHANG,
   JUNDI LIANG, TAO LI, YUN CAI,
   HONGLIANG TANG, JIE TANG,
   WENLUNG CHEN, SHI ZHANG,

  ORDER RE: MOTION TO DISMISS – 1
     25-80007-FPC     Doc 45   Filed 05/02/25   Entered 05/02/25 13:32:54   Pg 1 of 3
JUN CHE, DAHE ZHANG, SHAN
WAN, XIAOHONG SUN, YAN LYU
A/K/A YAN LU, WENYAN WANG,
JIALIN TIAN, RUI TANG, XINHAN
LIN, SIYU LIU, JIANYING MENG,
PHUONG NGUYEN, YEQING PAN,
XUERONG QI, QIANG WANG,
JUNLI WEI, YUNFEI WU,
HONGYING YU, DONGLI ZHANG,

                       Plaintiffs,

v.

HOTEL AT SOUTHPORT, LLC,
TWELFTH FLOOR, LLC, 1 MIN,
LLC,

                       Defendants, and

WF CREL 2020 GRANTOR TRUST,

                       Intervenor-
                       Defendant.


      THIS MATTER came before the Court on the Motion to Dismiss filed by 1

Min, LLC, Hotel at Southport, LLC, Twelfth Floor, LLC, and WF CREL 2020

Grantor Trust (collectively, the “Defendants”). (ECF No. 12) After hearings on the

Motion to Dismiss held on March 25, 2025 and April 9, 2025, the Court entered

the Order Granting in Part and Denying in Part AP Defendants’ Motion to Dismiss




ORDER RE: MOTION TO DISMISS – 2
  25-80007-FPC    Doc 45    Filed 05/02/25   Entered 05/02/25 13:32:54   Pg 2 of 3
the Complaint (“Dismissal Order”). (ECF No. 29) Shortly after, the Plaintiffs1 filed

a Motion to Reconsider the Dismissal Order. (ECF No. 33)

          The Court held a supplemental hearing on May 2, 2025 to address the

reconsideration motion. Pursuant to Bankruptcy Rule 7052, the Court’s oral rulings

at the supplemental hearing constitute its findings of fact and conclusions of law,

and the Court incorporates those findings and conclusions herein.

          Having reconsidered the Motion to Dismiss:

          IT IS ORDERED:

          1.      The Dismissal Order (ECF No. 29) is VACATED;

          2.      The Defendants’ Motion to Dismiss (ECF No. 12) is DENIED; and

          3.      This interlocutory order is without prejudice to the Defendants

renewing their arguments at trial.



                                          ///End of Order///




1
    “Plaintiffs” refers to the 70 named plaintiffs stated in the caption above.

ORDER RE: MOTION TO DISMISS – 3
     25-80007-FPC        Doc 45     Filed 05/02/25      Entered 05/02/25 13:32:54   Pg 3 of 3
